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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,          )
                                   )
          Plaintiff,               )
                                   )          CR No. 21-69-1
                                   )          Washington, D.C.
       vs.                         )          February 24, 2021
                                   )          2:02 p.m.
JORGE A. RILEY,                    )
                                   )
          Defendant.               )
___________________________________)


                          TRANSCRIPT OF
                INITIAL APPEARANCE, ARRAIGNMENT,
             AND BOND HEARING VIA ZOOM PROCEEDINGS
               BEFORE THE HONORABLE AMIT P. MEHTA
                   UNITED STATES DISTRICT JUDGE


APPEARANCES:

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Proceedings recorded by mechanical stenography; transcript
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1                          P R O C E E D I N G S

2               COURTROOM DEPUTY:     Good afternoon, Your Honor.

3    This is Criminal Case No. 21-69, the United States of

4    America versus Jorge Aaron Riley.

5               Troy Edwards for the government.

6               Michael Lawlor and William Brennan for the

7    defense.

8               Christine Schuck on behalf of Pretrial Services.

9               The defendant's appearing video via

10   videoconference for this hearing.

11              THE COURT:    Counsel, good afternoon.

12              Mr. Riley, good afternoon or good morning to where

13   you are.

14              Can you hear me okay, sir?

15              THE DEFENDANT:     Yes, sir.

16              And my name is Jorge.

17              THE COURT:    Okay.   But your last name is Riley,

18   correct?

19              THE DEFENDANT:     Yes, sir.

20              THE COURT:    Okay.   All right.

21              So I'll just refer to you as Mr. Riley, as we do

22   here in court for defendants and then parties.

23              All right.    So we're here today for two reasons;

24   one, we need to have Mr. Riley arraigned, because the

25   indictment was returned against Mr. Riley on February 3rd.
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1    And I don't believe he's been arraigned on that indictment,

2    so we'll do that first.

3               And then we will proceed to deal with the

4    detention issue.    There's been a motion filed for review of

5    the detention order that was issued by the magistrate judge

6    in the Eastern District of California.

7               So why don't we start with the arraignment.

8    And I'll turn it over to Mr. Douyon, our Courtroom Deputy.

9               COURTROOM DEPUTY:     And just one moment.      Let me

10   share the screen.

11              Mr. Riley, in Criminal Case No. -- I'm sorry, does

12   the defense wish to waive the formal reading of the

13   indictment?

14              MR. LAWLOR:    We will waive a formal reading of the

15   indictment at this time, yes.

16              COURTROOM DEPUTY:     Okay.

17              Mr. Riley, in Criminal Case No. 21-69, you have

18   been charged with the following counts:

19              Count 1, obstruction of an official proceeding and

20   aiding and abetting, in violation of Title 18 United States

21   Code Sections 1512(c)(2) and Section 2;

22              Count 2, entering and remaining in a restricted

23   building or grounds, in violation of Title 18 United States

24   Code Section 1752(a)(1);

25              Count 3, disorderly and disruptive conduct in a
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1    restricted building or grounds, in violation of Title 18

2    United States Code Section 1752(a)(2);

3               Count 4, disorderly conduct in a Capitol building,

4    in violation of Title 40 United States Code Section

5    5104(e)(2)(D);

6               And Count 5, parading, demonstrating, or picketing

7    in a Capitol building, in violation of Title 40, United

8    States Code Section 5104(e)(2)(G).

9               How do you wish to plead?

10              MR. LAWLOR:    Your Honor, if I may, the defendant

11   enters a plea of not guilty to each of the five charges,

12   requests a speedy trial by jury.

13              THE COURT:    All right.    Thank you, Mr. Lawlor.

14              All right.    So with that, the record will reflect

15   that the defendant has entered a plea of not guilty as to

16   each of the counts of the indictment.

17              All right.    Let's talk about detention and

18   Mr. Riley's bail status pending trial.

19              The government did move successfully before a

20   magistrate judge to have Mr. Riley held.        His counsel has

21   since filed a motion for bond review.        So that's where we

22   are.

23              So why don't we start with the government,

24   Mr. Edwards.

25              Look, let's just get to the part of the matter --
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1    and what I am primarily concerned about or considering

2    here -- and you may not have had the benefit of this,

3    Mr. Edwards, but some of your colleagues have:

4               The way I read the Bail Reform Act and the way

5    that the Bail Reform Act has been interpreted, more

6    importantly, by the Circuit, is that a detention hearing,

7    and, therefore, detention, is only appropriate if the

8    government meets one of the criteria set forth in 3142(f).

9    3142(f) sets forth five different types of offenses that are

10   eligible for detention and then two additional bases for

11   additional detention, one is a serious risk that the person

12   will flee, and a serious risk that the person will obstruct

13   or attempt to obstruct justice, including witness

14   intimidation or juror intimidation.

15              I view Section 7 -- excuse me, Section (f) as sort

16   of a door-locking provision or unlocking provision, if you

17   will, such that you have to satisfy one of those criteria

18   first before we even get to the question of dangerousness,

19   and the government's motion is largely based on

20   dangerousness.

21              So as I read your memo, you have not identified a

22   basis under (f)(1) for detention; that is, the sort of

23   enumerated offenses clause of (f)(1), which is (f)(1).            And

24   then in (f)(2), you've sort of alluded to risk of flight.

25              So let me ask, Mr. Edwards:       On what basis are you
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1    seeking a detention hearing and seeking to detain under (f),

2    under subsection (f)?

3               MR. EDWARDS:    Your Honor, the government is moving

4    for Mr. Riley's detention under both (f)(2)(A) and

5    (f)(2)(B).

6               THE COURT:    Okay.

7               MR. EDWARDS:    The serious risk of flight and the

8    serious risk of an obstruction of justice.

9               THE COURT:    All right.

10              Let's start with the latter.

11              What's the basis for the latter contention that

12   he's a serious risk, that he may obstruct or attempt to

13   obstruct justice?

14              MR. EDWARDS:    Yes, Your Honor.

15              Mr. Riley -- as the Court is aware, the statute in

16   3142(f)(2)(B) is disjunctive and notes that if "there is a

17   serious risk of an obstruction of justice or" and then they

18   provide additional examples of serious risk that would

19   warrant having the detention hearing, such as tampering with

20   a witness or tampering with evidence, the government's

21   focused on that first element most importantly here, the

22   obstruction of justice.

23              As the government argued in the Eastern District

24   of California, the defendant flew over 3,000 miles while

25   pending release in another case and stormed the
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1    United States Capitol and made it quite clear why he did so.

2    And he made that intent clear by posting on Facebook

3    publicly available messages to folks, saying that -- and I'd

4    like to quote here -- statements such as, "Do you really not

5    get what is going to happen on the 6th?"        And here, he's

6    referring to January 6th.      "I absolutely am looking forward

7    to that.   And no matter what, there is nothing that can stop

8    it."

9               Then on the day of January 6th after arriving in

10   D.C., he posts another message that says, "Today at noon,

11   the election is being challenged."

12              And as he's on his way from attending what appears

13   to be a rally, on the way to the Capitol building, even

14   films video of a number of other individuals that he's

15   traveling with informally to the Capitol building, and you

16   can see that building in the foreground.        And he states

17   that, "hundreds of thousands of us are marching on the

18   nation's capital."

19              And then a little closer in time to when Mr. Riley

20   approaches the Capitol building, Mr. Riley posts another

21   message that says, "Hey, we're storming the Capitol.          What

22   are you doing?"

23              And then as Mr. Riley enters the Capitol building,

24   he takes another photo and shows himself with paint on his

25   face and shows a number of other individuals behind him.
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1    And you can see a bit of the background that appears to be

2    the inside of the Capitol building and says something to the

3    effect of, "Hey, we're storming the Capitol.         What are you

4    doing?"    And then as a caption to this new photograph, they

5    said, "Where do you think I am?       I'm at the front."

6                THE COURT:   So, Mr. Edwards, if I could interrupt

7    you.

8                And maybe you're getting to it, but, you know, all

9    of the evidence that underlies the charges which are what

10   you have been describing based upon sort of public-available

11   information from social media and the like, you know,

12   certainly is strong evidence that Mr. Riley participated in

13   the events of January 6th and entered the Capitol building

14   on January the 6th and stayed within the confines of the

15   Capitol.    And exactly what he did while he was there may not

16   be entire clear just yet, but it's not clear to me that any

17   of that is evidence of likelihood that he's a serious risk

18   to obstruct justice.

19               I mean, that's -- you know, you've described the

20   elements or the conduct, which is not to say the conduct

21   itself may not have a bearing on obstruction or risk of

22   obstruction, but I'm not sure I see anything that's

23   described in your papers that rises to the level of a

24   serious risk of obstruction.

25               And let me just provide a counterexample.        There's
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1    a gentleman in another case, Mr. Caldwell, I don't remember

2    the case number.    But the government collected evidence

3    that, for example, he destroyed social-media posts or erased

4    social-media posts once he learned law enforcement was

5    actively looking for people, he aided and abetted some of

6    his confederates in trying to hide evidence, instructed them

7    to drive in a certain way to evade law enforcement.

8               There's none of that kind of evidence here, at

9    least none that's described.      Are you aware of anything that

10   rises to that level, Mr. Edwards?

11              Oh, and by the way, I should say, in

12   Mr. Caldwell's case, I did find that there was a serious

13   risk of obstruction and then went forward and found

14   dangerousness.

15              So is there anything similar here with respect to

16   Mr. Riley?

17              MR. EDWARDS:    Your Honor, at this time, no.

18              It is -- we are continuing to investigate this

19   case and will obviously notify the parties and the Court if

20   we uncover that kind of evidence.

21              But I'd like to note that that's why I think it's

22   important to focus on Congress's language there in

23   3142(f)(2)(B) in making it a disjunctive, as you note,

24   door-opening mechanism into the 3142(g) factors.         The

25   conduct that you're describing in Mr. Caldwell's case seems
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1    to fall into those other elements of obstructing with --

2    tampering with evidence or tampering with witnesses.

3               The government argument's here simply is that

4    we're in that first half which is that obstruction of

5    justice.

6               And the logical thread here tying the conduct that

7    the government described in this hearing is that on

8    January 6th, we witnessed, and millions of Americans

9    witnessed, one of the largest obstruction efforts in the

10   history of the United States.      The purpose of a lot of the

11   conduct of the actors, including Mr. Riley, was to obstruct

12   an official proceeding, which was the Electoral College's

13   certification of the 2020 presidential election.

14              The government's argument today is that if

15   Mr. Riley is an individual who's willing to post publicly

16   his intent behind those actions, fly thousands of miles

17   while released on a pending case, conduct himself in such a

18   manner where he states publicly in an interview and in a

19   photo that he had already been attacked with a fire

20   extinguisher and pepper sprayed by police but he continued

21   forward, that is the drive behind Mr. Riley's intent to

22   obstruct justice, and he is charged with an obstruction

23   charge.

24              And so the government's argument today is that

25   that is enough to meet this threshold of a serious risk of
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1    obstruction of justice, because it is an argument that his

2    criminal case pales in comparison to something so large as

3    the presidential election.

4               THE COURT:    By that logic, anybody that's charged

5    with obstruction of an official proceeding, in the

6    government's view, would satisfy (f)(2)(B), is that right,

7    is that the position the government's taking in these cases?

8               MR. EDWARDS:    Your Honor, the government's

9    position here is that anyone who's charged with something

10   like 1512(c)(2) and has the clear evidence of his intent to

11   do so, does at least qualify or least in evidence like we're

12   seeing here, where he admits freely in both interviews,

13   photos, and captions in his social media that the ability

14   and the intent to obstruct something, yes, the government's

15   position is that in those circumstances, the government has

16   met its lower threshold of serious risk.

17              And I'd note that there are a number of standards

18   involved in 3142, as Your Honor is well aware, such as

19   preponderance of the evidence and clear and convincing

20   evidence when we get to risk of flight or risk of danger.

21   Here, Congress made it clear that it was a serious risk,

22   which appears to be a lower threshold than those two, and

23   it's the government's position that we've met that.

24              THE COURT:    And I would agree with you,

25   Mr. Edwards.   I think there are different evidentiary
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1    burdens and thresholds here.      I think Congress sort of

2    carefully chose the words it meant to apply or the standards

3    it meant to apply at each point of inquiry.

4               All right.    So you've explained the government's

5    position with respect to obstruction.       What about with

6    respect to flight?

7               MR. EDWARDS:    Yes, Your Honor.

8               I think what's really important here in

9    determining whether or not there is a serious risk of flight

10   is the fact that Mr. Riley was already on release in felony

11   charges in the State of California.

12              And while the government is not clear that there

13   were conditions for him to not travel, certainly one of the

14   default conditions of being on release in any case is not to

15   commit further crimes.

16              And Mr. Riley is an individual who, although

17   pending a felony case that -- the government can get more

18   into those details if we, in fact, get to the (g) factors.

19   But while pending trial in that case, he fled 3,000 miles

20   and committed additional federal felonies.

21              And so it would be the government's position here

22   that this is an individual that has displayed very recently

23   no respect for conditions of release, and it should convince

24   the Court here that there's not much to trust that he would

25   trust any -- respect any conditions that the Court
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                                                                       14

1    implements today.

2               THE COURT:    Okay.

3               All right.    Mr. Edwards, thank you.      That's

4    helpful to conceptualize what the government is thinking

5    here.

6               Mr. Lawlor, let's stick with subsection (f) and

7    your response to Mr. Edwards' position.

8               MR. LAWLOR:    Sure, Your Honor, a couple things.

9               Just to sort of join the Court's question about

10   obstruction, it appears to me that government's argument is

11   that if the defendant engages in obstructive conduct,

12   vis-à-vis the charged crime, that's almost evidence that he

13   will in the future engage in obstructive conduct, and

14   I don't think that's a correct analysis.        I think the

15   government is avoiding that burden of proving by some

16   evidence that there's -- a court should find that there's a

17   likelihood, and it appears that the government is focused

18   only on obstruction and not jury intimidation.

19              THE COURT:    But you don't disagree, Mr. Lawlor,

20   do you, that evidence of the crime, if obstructive, is

21   relevant to --

22              MR. LAWLOR:    It's relevant.

23              But what I just don't think the government is

24   saying, well, he did it once, therefore, the Court should

25   safely find, absent some further proof, that he will do it
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                                                                        15

1    again.

2               But let me also say before we get to that,

3    Your Honor, the government seems to suggest that Mr. Riley,

4    by his post, intended to obstruct justice from Jump Street,

5    and I don't think that that's a fair reading of his texts.

6               So, you know, obviously I think it's important for

7    all of to us to avoid the politics of this, understanding

8    how hard that is.    But the way I read Mr. Riley's initial

9    traveling and his excitement to travel and what he came here

10   to do was to engage in a rally, to protest behavior that he

11   believed had occurred.

12              And, again, I don't want to get into a debate

13   about whether or not he was right about that or was there

14   any evidence of that, but I think the original texts where

15   Mr. Riley is saying, hey, like the President, our former

16   President, I believe there was some nefarious behavior

17   vis-à-vis the election, and the President and others are

18   coming to rally to protest what they perceive.         I believe

19   that, and, therefore, I'm going to go to Washington and join

20   in that rally.

21              The government seems to be suggesting that it was

22   Mr. Riley's intent from Jump Street to come here, break into

23   the Capitol, and put a halt to the efforts of Congress on

24   January 6th.   I don't think that's a fair reading.

25              I think what's a more fair reading -- and, you
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1    know, for purposes of this argument on release, again, I

2    won't dispute that the government certainly has, by

3    Mr. Riley's own videos and words, some evidence of some of

4    these elements, at a minimum, that he entered into the

5    Capitol, but I don't think there's any evidence that in

6    there, while in there, he engaged in assaultive behavior or

7    engaged in any breaking of windows or any other destruction

8    of property in the Capitol grounds.

9               So what we have is evidence that Mr. Riley came

10   here to a protest -- and, again, I think this is true of

11   most people who engaged in illegal behavior on January 6th,

12   I don't think most of those people came here with any idea

13   that the Capitol grounds would be entered, lawfully or

14   unlawfully.

15              I think there was a call to action by certain

16   people, a march towards the Capitol took place, and then

17   obviously things got out of hand there, illegal behavior

18   took place.

19              But I just don't believe it's a fair reading that

20   Mr. Riley's intent, while he was in California, was to come

21   here and engage in illegal behavior.       To the contrary,

22   I think he came here to engage in a protest.

23              Now, again, if the Court says, all right, well, he

24   went into the building, you know, I'm not sure that that

25   even -- in and of itself rises to the level of obstruction.
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1               And I think, you know, the government has clearly

2    taken a position in these cases assuming -- you know,

3    leaving aside the identification problem, let's say that the

4    government could identify every person who trespassed -- and

5    I'm not trying to use a loaded term here, but just to get

6    everybody sort of on one track -- they're not seeking

7    detention for everybody who entered the Capitol grounds that

8    day.

9               It appears that they've taken a position that

10   detention is appropriate for people who did engage in

11   assaultive behavior, obstructive behavior, or violent

12   behavior, even not towards others but to the Capitol grounds

13   themselves, and there's no evidence of that with Mr. Riley.

14              So I don't think the government's statements that

15   Mr. Riley -- they said he fled from his prior case 3,000

16   miles.   I don't think that's fair.      I think what he did was

17   he traveled 3,000 miles.

18              THE COURT:    And just to be clear, Mr. Lawlor,

19   I want to make sure -- and he was -- where was he arrested?

20              Maybe Mr. Edwards can help.

21              I mean obviously, he was arrested somewhere in the

22   Eastern District of California, I take it?

23              MR. LAWLOR:    I think it might have been the 25th,

24   Your Honor.

25              MR. EDWARDS:    That's right.
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1                MR. LAWLOR:    That was the day of his initial --

2                THE COURT:    No, no, not when but where.     Was he at

3    home?

4                MR. LAWLOR:    Oh, in his home in Sacramento.

5                THE COURT:    In his home.   Okay.

6                MR. LAWLOR:    And he was texting people saying, you

7    know -- to the effect of, you know, I know they're coming

8    for me.   He didn't hide.     He didn't run.

9                So to me, I'm talking about obstruction right now,

10   but in terms risk of flight, you know, the issue is, is

11   Mr. Riley going to show up at all future court appearances

12   absent detention?    I really don't think the government has

13   really offered any evidence to suggest that he won't.

14               And I think that he will.     As I said, he didn't

15   avoid -- he didn't hide any evidence here.        He didn't avoid

16   apprehension.    I think he knew that the FBI or other law

17   enforcement personnel were coming to take him into custody

18   for events on the 6th and he didn't flee or hide or delete

19   stuff from his phone.

20               THE COURT:    Okay.

21               All right.

22               MR. LAWLOR:    Go ahead, Judge.

23               THE COURT:    It's okay, Mr. Lawlor.     I've got your

24   argument.

25               Mr. Edwards, do you want to respond?       If you want
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1    a brief response, I'll give you that opportunity.

2               MR. EDWARDS:    Yes, please.    Thank you, Your Honor.

3               Just two brief things.

4               First -- and I'll go in order of the statute here.

5    For 3142(f)(2)(A) -- and I'll talk a little bit about risk

6    of flight here -- I understand that Mr. Riley was arrested

7    in his apartment in the Eastern District of California.

8               That said, as was discussed at length in the

9    hearing before the magistrate court, he has more than one

10   failure-to-appear charges in his past, and that was

11   discussed between defense counsel and the Court.         And the

12   paperwork was with the original defense counsel.         My

13   understanding is that defense counsel has passed on

14   materials to the new counsel.      It's not --

15              THE COURT:    I'm sorry to interrupt, because I read

16   the transcript, and there seemed to be some ambiguity as to

17   what those failure-to-appears meant.       You know, did they

18   rise to the level of a Bail Reform Act violation that we're

19   all familiar with, where he actually has a criminal

20   conviction associated with failing to appear in court?

21              MR. EDWARDS:    It was not my understanding that --

22   and I'm going to speak very clearly here to make sure

23   I don't overstep.

24              It is not my understanding that it was a

25   conviction, but my understanding was he was either arrested
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1    or charged at first with failure to appear.        Unfortunately,

2    that's the extent of my understanding of their terminology

3    in terms of the state court terms of art.

4               But it was the government's position in that court

5    that -- might understand that a little better -- that those

6    did count as failures to appear and the magistrate court out

7    there understood it to mean that.

8               THE COURT:    Ms. Schuck, are you on the line and

9    can you hear me?

10              PRETRIAL SERVICES OFFICER:      Yes, Your Honor.

11   Christine Schuck, Pretrial Services.

12              THE COURT:    Ms. Schuck, does your pretrial

13   investigation show any arrests or charges for failing to

14   appear in court, in federal or state, one; and then, two,

15   any actual convictions for failing to appear in court?

16              PRETRIAL SERVICES OFFICER:      Our office did not

17   conduct an actual investigation.

18              What I am reviewing are the documents that we

19   received from the Sacramento office, the U.S. Pretrial

20   Office in Sacramento, California.

21              And on their pretrial report, it does reflect that

22   on 9/19/2008, he was arrested on a bench warrant that was

23   for failure to appear in regards to a 3/26/2007 arrest for

24   DUI.   He had been placed on probation for the DUI.

25              There was a failure-to-appear bench warrant that
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1    was issued, it looks like here, on 2/11/2008, and he was

2    arrested in September of 2008 for that failure to appear.

3    The probation in that case was subsequently revoked, and he

4    was resentenced to four days' jail.

5               It also looks like there was another failure to

6    appear that was -- like I said, I'm reading this as I'm

7    looking at it pretty quickly.

8               So in that March 2007 case, there were actually,

9    it looks like, a total of three failure to appears that were

10   issued:   April 30th, 2007, April 21st, 2008, and March

11   2000 -- I'm sorry, not March -- May 5th, 2008.         So we had

12   three bench warrants in that case.

13              On September 19th, 2008, he was arrested on the

14   bench warrants.    And he was subsequently -- the probation

15   was revoked in that DUI case, and he was dropped from the

16   first offender program and ultimately resentenced to ten

17   days' jail on 9/23/2008, and the case was concluded at that

18   point.

19              THE COURT:    Okay.   Thank you, Ms. Schuck.      That's

20   actually a very helpful recitation of what I think

21   Mr. Edwards is referring to.

22              PRETRIAL SERVICES OFFICER:      Pretrial can also

23   attest that according to this record, there was an

24   additional failure to appear in 2017 related to another case

25   that he was convicted -- he did a diversion program and it
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1    was subsequently dismissed, but there was a failure to

2    appear that was issued.     He was arrested on 5/30/2016 for

3    contributing to a delinquency of a minor and disorderly

4    conduct under the influence of drugs.       So it was a failure

5    to appear that was issued on 2/15/2017 before he entered a

6    diversion on 10/24/2017, and then the case was subsequently

7    dismissed.

8               So in more recent times, there was another failure

9    to appear that is noted on the record.

10              THE COURT:    Okay.   That's helpful.

11              All right.    Thank you, Ms. Schuck.      I appreciate

12   that.

13              Mr. Edwards, why don't you go ahead.

14              MR. EDWARDS:    Yes, Your Honor.

15              I don't want to belabor that point, but it's the

16   government's submission to the Court that that Mr. Riley has

17   demonstrated a history of failing to appear to address

18   criminal charges, and there's -- you know, as recently as

19   2017, and I appreciate Pretrial's specificity in a way that

20   I could not be.

21              And so it's the government's position that because

22   of it being a lower threshold of a serious risk, the

23   government has met that position.

24              And if the Court is not inclined to find that

25   3142(a) has been met, the government is also relying on
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1    3142(b), and I'd like to just respond to one or two points

2    the defense counsel brought up on the obstruction point.

3               The government wants to be very clear here:

4    Mr. Riley is not similarly situated to individuals who

5    walked inside of the Capitol and walked out.

6               He's correct that the government has been surgical

7    with its request for pretrial detention.        And in this case,

8    it's the government's position that it is warranted or at

9    least we are eligible to move forward to the hearing,

10   because Mr. Riley posted public statements about why he was

11   going inside of that Capitol building, made sure he was at

12   the front line.

13              And then the second point that I'd like to respond

14   to is, while the government is not putting forth an argument

15   or evidence that there is video of Mr. Riley performing

16   certain conduct such as assaultive behavior on officers,

17   there is evidence, by the defendant's own statement, which

18   the Court can choose how much weight to give that, but it is

19   still evidence.    And that evidence is that Mr. Riley

20   immediately, after walking outside of the Capitol building,

21   after having broken in, tells an individual, that's captured

22   on video, everything he did inside.       And there is video to

23   at least corroborate some of the locations that he

24   identified.

25              Mr. Riley describes his own conduct as including
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1    getting into a physical shoving match with officers, getting

2    sprayed with a fire extinguisher and pepper spray.          And, in

3    fact, he mentioned -- and this goes to obstruction of

4    justice as well and ties into a little bit the idea of

5    obstructing the witnesses -- he talks about going into rooms

6    when officers or security were trying to remove legislators.

7               The hearing here that he's charged with

8    obstructing was a hearing with the Electoral College vote to

9    certify the election.     It's not a far-off argument to say

10   that the witnesses in those hearings were those legislators,

11   and Mr. Riley is talking about going into rooms and

12   screaming -- I apologize for my language, Your Honor -- but

13   "Fuck you, Nancy Pelosi."     And he posts messages on his

14   Facebook that says, "Fuck Mike Pence."

15              Now, normally that is, of course, First Amendment,

16   he is allowed to post certain things.       But when you tie that

17   language into his intent for why he traipsed around the

18   Capitol building, getting into shoving matches with

19   officers, as he describes, and then comes out and tells an

20   interviewer, it was a mostly peaceful, physical takeover of

21   the Capitol -- this is a quote:      "We stopped the steal,

22   because they were in there and they weren't going to stop

23   the steal, so we stopped the steal.       We took our country

24   back.   Fuck you guys."

25              That, Your Honor, is what sets Mr. Riley apart
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1    from the rest of the individuals that just walked in the

2    Capitol and walked out.     It is an obstructive intent, and he

3    executed upon that intent by flying 3,000 miles and breaking

4    into the Capitol building.

5               And the government submits to Your Honor that the

6    low threshold of serious risk of an obstruction of justice

7    has been met.

8               THE COURT:    All right, Mr. Edwards.      Thank you.

9               MR. LAWLOR:    Your Honor, can I respond to that

10   point?

11              THE COURT:    Sure, Mr. Lawlor.

12              MR. LAWLOR:    You know, I hate to sort of splice

13   and dice certain pieces of evidence, particularly when

14   they're the defendant's own statements, but I do think it's

15   noteworthy here that Mr. Riley does come out and he does

16   describe those -- that conduct that the government has just

17   described.

18              But I do not believe, in fact, I'm affirmatively

19   offering to the Court, that that is not behavior that

20   Mr. Riley participated in.      And this may sound ridiculous

21   and, you know, reticent to just make arguments, but

22   I believe wholeheartedly that when Mr. Riley said "we," he

23   wasn't saying "I did this," he meant the protesters en

24   masse.

25              And so, yeah, that's not something to be cheered,
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1    but I'm affirmatively saying that we believe the evidence

2    here, if there was a camera on Mr. Riley's shoulder that

3    showed exactly what he did, he did not put his hands on

4    anybody, he did not destroy any property inside the Capitol.

5               In fact, after he says that, he comes out, he's

6    being interviewed right after he's left the Capitol

7    building, he says, you know, we did this and we did that.

8    He also then goes on to say about his exchanges with the

9    police.   The police were -- they weren't engaging us

10   physically.    Everything was very polite between us and the

11   police.   We were having polite exchanges.

12              So I do believe affirmatively, Your Honor, that

13   the evidence in this case is such that when Mr. Riley

14   entered the building, he did not destroy property, he did

15   not engage in a physical confrontation with any person, and

16   that the words he used were describing the actions en masse

17   of protestors.

18              And so at the end of day here, Your Honor, to sort

19   of bring this back out to where we are, Mr. Riley is not a

20   flight risk.    He's going to appear.     He doesn't have

21   anywhere to go.    He doesn't have the funds to go anywhere,

22   Your Honor.    This is a guy who lives on benefits he receives

23   from the service in the military.       He's finally got some

24   subsidized housing, which he's potentially going to lose.

25              And I don't believe that -- I do agree with you,
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1    of course -- like if he were -- if we're talking about here

2    is someone who obstructed justice while on trial, tried to

3    influence a juror or a witness, that kind of obstruction, of

4    course, that's directly relevant to whether or not he

5    intends to do that in the future.

6               But here, I don't think there's even evidence that

7    what we -- what Mr. Riley himself did that day was

8    obstructive, and I don't think there's any evidence that

9    he's going to engage in obstructive behavior in the future.

10   And, in fact, of course, with the Bail Reform Act, the Court

11   can ensure -- and the issue is, are there no conditions the

12   Court can set to ensure those things won't happen.

13              THE COURT:    All right.    Mr. Lawlor, let's -- we're

14   not quite there yet, if we get there.

15              MR. EDWARDS:    Your Honor, if I could just say one

16   last point.

17              THE COURT:    Sure.   Go ahead.

18              MR. EDWARDS:    And the only thing I wanted to

19   respond to was the idea that there was no evidence that

20   this, in fact, was obstructive.

21              The Electoral College certification process

22   halted, the legislators were escorted rapidly out of their

23   hearing.

24              This is not a trespass case.       The Electoral

25   College certification occurred later in the evening, and we
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1    can talk about why or how -- what efforts went into doing

2    that.

3               But the official proceeding was halted.        That is

4    part and parcel with the obstruction charge that he is

5    facing.   And it's the government's position here that when

6    you combine his intent and his professed actions and the

7    evidence showing that he was, in fact, there and inside and

8    the success of his mission to stop the steal, that is the

9    evidence that shows that this was a successful obstructive

10   effort as recently as last month, and so that amounts to a

11   serious risk of an obstruction of justice.

12              I understand defense counsel's point about

13   witnesses and evidence.     I just would like to point out

14   again for Your Honor that it is a disjunctive section of the

15   statute, and so obstruction of justice must mean something

16   more than just tampering with evidence or witnesses.

17              THE COURT:    Okay.

18              So I think this is, in some respects, a closer

19   call than, perhaps, I had thought it would be when I came

20   into this hearing, and, you know, Mr. Edwards has sort of

21   provided some food for thought.

22              Let me just ask either side:       Are you aware of any

23   case law that would sort of expound on either of the

24   (f)(2)(A) or (B) provisions, in particular, the (f)(2)(B)

25   provision in terms of what that means and how it relates to
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1    other aspects of the Bail Reform Act?

2               MR. EDWARDS:    Your Honor, the government scoured

3    case law -- and I apologize, I just want to note Mr. Riley

4    is raising his hand.     I don't know if the Court wants to --

5               MR. LAWLOR:    If I could.

6               Mr. Riley, we see that you have your hand up.

7    I'm going to ask the Court momentarily to permit you and I

8    to break out and consult.

9               Okay.   Thank you, sir.

10              THE COURT:    All right, Mr. Edwards.

11              MR. EDWARDS:    In terms of case law, Your Honor,

12   the government couldn't find anything on point, but that's

13   not much surprising, right?      This is an unprecedented

14   obstructive act, as I mentioned, possibly one of the largest

15   in American history.

16              Now, that doesn't mean that we can't find

17   analogous conduct.    A lot of the case law revolves around

18   the obstruction of witnesses or the obstruction of evidence;

19   for example, like Mr. Caldwell that you mentioned,

20   concealing evidence for certain cyber cases, where,

21   you know, defendants would either intimidate witnesses by

22   doxing them or providing their home address and names, cases

23   like that.

24              You know, unfortunately, there wasn't as much case

25   law on this first element of 3142(f)(2)(B), which is that
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1    obstruction of justice.

2                THE COURT:    Okay.

3                All right.    Mr. Lawlor, you want to take a few

4    minutes, Mr. Brennan, you all want to take a couple minutes

5    and be put in a breakout room to talk to your client?

6                MR. LAWLOR:    If you don't mind, that would be

7    terrific.

8                THE COURT:    No, I don't mind.    Just take a couple

9    seconds to meet.

10               MR. LAWLOR:    Thank you.

11               (Recess from 2:40 p.m. to 2:43 p.m.)

12               THE COURT:    Okay.   Do we have everybody back?

13   Mr. Edwards, I see you back.

14               Mr. Lawlor, there you are.     You've changed.        You

15   were in my lower left corner.        Now you're up in my upper

16   right corner.

17               MR. LAWLOR:    Mass confusion.

18               THE COURT:    I think you're the one who's the risk

19   of flight.

20               MR. LAWLOR:    Guilty.

21               MR. BRENNAN:    I would agree with that, Your Honor,

22   by the way.

23               THE COURT:    All right.

24               Did you want to add anything, Mr. Lawlor?

25               MR. LAWLOR:    Yes.
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1               So, Your Honor, the 2017 -- I just talked to

2    Mr. Riley.    And Mr. Zindell was kind enough to email me,

3    because he was Mr. Riley's attorney in the California matter

4    in this case.    But the 2017 FTA, he was late for a status

5    conference.    He showed up at the next hearing.       And that

6    case has been going on for some time.       He's made numerous

7    appearances.

8               And then the 2007 DUI, he was in custody, I think

9    a hearing got canceled.

10              But, Your Honor, I think if you go back and look

11   at the totality of Mr. Riley's compliance with attending

12   court hearings, you know, yeah, there are a couple of

13   issues, but I believe they have explanations.

14              And especially this most recent case, he's been

15   having to attend numerous hearings and has done so.

16              MR. EDWARDS:    Your Honor, I apologize.

17              The only position I was going to add for the

18   government is simply that when the statute focuses on risk

19   of flight (audio disconnected).

20              THE COURT:    Mr. Edwards, you've --

21              Mr. Edwards, you're going to have to repeat

22   yourself, because you faded in -- you faded out, I should

23   say.   So I wasn't able to hear what you were saying and nor

24   was the court reporter.

25              MR. EDWARDS:    I apologize.
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1               Can you hear me now?

2               THE COURT:    Yes.

3               MR. EDWARDS:    Great.

4               The only last piece, and I apologize for going on

5    here, is just that when the statute focuses on risk of

6    flight, one element of that is simply risk of nonappearance.

7               So it might not mean someone's running, but it

8    also might mean someone doesn't appear for their hearing in

9    court.   And if the defense counsel's position is that one of

10   those failures to appear was that he was detained for a new

11   charge, like we're seeing here, that he's been detained in a

12   new charge pending another case in California, that still

13   constitutes nonappearance.

14              THE COURT:    Okay.

15              All right.    Well, as I was starting to say,

16   I mean, I think the government's given me something to --

17   some more food for thought here.

18              But I think at the end of the day, I'm --

19   notwithstanding, I think, what was a thoughtful and sort of

20   creative argument by the government in terms of how the

21   facts of this case apply to Mr. Riley, you know, I'm still

22   not convinced that the government gets there.

23              You know, 1342(f)(2)(A) speaks of a person who --

24   let's start with (f)(2)(B).      And, again, the D.C. Circuit in

25   a case called Singleton, I don't have the cite in front of
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1    me but you all may be familiar with it, it's pretty easy to

2    find, you know, essentially describes the factors under

3    subsection (f) as pre-conditions to detention, and actually

4    goes on that unless one of the factors under (f) is met,

5    there is no ground for detention, and so -- which is why I

6    started where I did, and the government's identified

7    (f)(2)(A) and (f)(2)(B).

8               Let me start with (f)(2)(B) and the serious risk

9    that somebody -- that the person will obstruct or attempt to

10   obstruct justice.    You know, I think there's something to be

11   said about the government's argument that there is a charge

12   of obstruction here.     It's obstruction not in a judicial

13   proceeding but it's an official proceeding, nonetheless.

14              But that said, I think the charge here is somewhat

15   unique in terms of the nature of the conduct and the object

16   of the conduct.    And I think what (f)(2)(B) is really

17   getting at is not just obstructive intent generally, but,

18   rather, the risk that somebody's going to be -- obstruct or

19   attempt to obstruct a judicial proceeding.

20              You know, "obstruct justice" is a legal sort of

21   term of art, if you will, and it refers to the obstruction

22   of judicial proceedings.     And while the statute is written

23   in the disjunctive to refer to witnesses and jurors,

24   obstruction of justice encompasses a broader category to

25   include the destruction of evidence, for example.
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1                And so notwithstanding the fact that Mr. Riley is

2    charged with and a Grand Jury found that he had entered the

3    building, presumably with the intent to obstruct an official

4    proceeding, it's not clear to me that that evidence by

5    itself raises a serious risk that he's going to pose a risk,

6    serious risk, of obstructing these proceedings or any other

7    proceedings.

8                There's simply not the kind of evidence that we

9    had, for example, in the case I was just mentioning

10   involving another Capitol Hill defendant, Mr. Caldwell, who

11   the government had presented evidence of destroying

12   social-media posts, assisting others in evading police,

13   directing others in terms of how to stash evidence.          But

14   there's just nothing like that here with Mr. Riley.          And if

15   anything, Mr. Riley seems to have simply just stayed put

16   following the Capitol incursion and gone home, and, if

17   anything, continued to express his opinions and his

18   viewpoints in a public manner.

19               Insofar as the serious risks that he will flee,

20   you know, again, I take the government for what it's saying

21   in terms of Mr. Riley being on release status, and yet he

22   came to the District of Columbia during a release status,

23   and at least as has been alleged to have committed further

24   offenses.

25               On the other hand, I take the word "will flee" in
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1    that to mean "flight," that is, an actual effort and

2    likelihood that someone will attempt to evade law

3    enforcement and most concretely appear in court and not

4    abide by the Court's orders.

5               And, you know, Mr. Riley, after he flew to

6    Washington, flew back home or went back home, he traveled

7    back home, I don't know if he flew or went through some

8    other means.   He was in his apartment when he was arrested.

9    You know, he certainly -- there's no indicia here of -- that

10   he has the means not to appear or avoid his court

11   obligations.

12              Certainly, cases in the Circuit, although they're

13   oftentimes reviewing the risk of flight as a

14   preponderance-of-the-evidence issue, but, nevertheless,

15   I think those cases are informative.

16              And those cases in which the Circuit has either

17   found -- or where the Circuit has found somebody to be a

18   risk of flight to warrant detention, you know, usually

19   involves somebody who has foreign ties, has resources, has

20   expressed some intent to flee.      There's just none of that

21   here.

22              Mr. Riley is living on -- off of VA benefits.

23   According to his counsel, he has no passport.         He's never

24   traveled internationally.

25              You know, to the extent that he has not appeared
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1    for court, and there's been some discussion about that, but

2    none of it seems to have translated into an actual

3    conviction, which suggests to me that there are some

4    mitigating circumstances surrounding those failures to

5    appear, at a minimum, I would put it this way:         That the

6    government has not convinced me and met its burden that

7    these episodes of failing to appear really rise to the level

8    that Mr. Riley's a serious risk that he will flee.

9               So ultimately, I find here that the government has

10   not met its burden on (f)(2)(A) and (B), and so there is no

11   basis to hold Mr. Riley under (f) -- excuse me, under

12   1342(g), and so I really don't get to the question of

13   dangerousness in this case.

14              So let's, then, turn to conditions of release.

15   And if not detention, Mr. Edwards, what is the government

16   asking for in terms of conditions of release?

17              MR. EDWARDS:    Yes, Your Honor.

18              First, the government would request that there be

19   a stay-away from the District of Columbia.        I understand

20   other jurisdictions have kind of molded that in different

21   ways.   That might mean he just stays in the Eastern District

22   of California and only appear in the District of Columbia if

23   it's pre-approved, you know, court appearances or meetings

24   with counsel.   And I'm happy to kind of be flexible there,

25   in our request at least.
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1               But that's the most important stay-away, other

2    than the standard conditions of release.

3               THE COURT:    Okay.

4               So that's the extent of what the government is

5    asking for and nothing further?

6               MR. EDWARDS:    Your Honor, the Court's indulgence,

7    if I could just ask for one second just to double-check

8    that.   I apologize.

9               THE COURT:    No.    It's okay.

10              MR. EDWARDS:    I'm glad I asked.     I knew I wrote

11   down a few.

12              And these are a little more standard:        Calling

13   Pretrial Services once a week.       Advising Pretrial Services

14   of any travel within the U.S. outside of the Eastern

15   District of California.     No travel outside the continental

16   United States without court approval.        And just simply

17   participating in all future proceedings as directed.

18              THE COURT:    Okay.

19              All right.    Mr. Lawlor or Mr. Brennan, any

20   thoughts on that request and those requests?         Any

21   objections?

22              MR. LAWLOR:    No.    Those are all acceptable,

23   Your Honor.

24              I would ask for one more, which would be, as

25   directed by Pretrial, that Mr. Riley participate in any drug
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1    or alcohol testing or education that they deem advisable.

2               THE COURT:    Okay.

3               So let me just ask Ms. Schuck how we are going to

4    do this as a procedural matter?      How are we to advise

5    Mr. Riley of what his conditions will be?        Who will be doing

6    the supervision?    Should he be calling D.C.?       Should he be

7    calling a Probation Office in the Eastern District of

8    California?    How would this work as a practical matter?

9               PRETRIAL SERVICES OFFICER:      Good afternoon,

10   Your Honor.    Christine Schuck, Pretrial Services.

11              Since the government and the Court's only

12   requesting that he call in to Pretrial Services by a

13   telephone, he will be supervised here locally by the

14   Washington, D.C. office.

15              Pretrial Services will be doing the release order

16   right now.    I will send it to your Deputy Courtroom Clerk.

17   He will then provide it to chambers for your review and

18   signature and then it can be provided to counsel to provide

19   to the defendant.

20              Pretrial Services would also ask that he seek

21   mental health treatment and that he sign all required mental

22   health releases of information that we need to be able to

23   report compliance information to the Court.

24              THE COURT:    Okay.

25              And if I were to add, as, I'll just call them
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1    special conditions, drug treatment and testing as

2    recommended by Pretrial, mental health treatment as

3    recommended.

4               PRETRIAL SERVICES OFFICER:      If Your Honor is

5    requesting drug testing, then we're going to have to request

6    courtesy supervision.     So we will need time to request that

7    from the Eastern District of California.

8               MR. LAWLOR:    Your Honor, I'm actually not asking

9    for testing.

10              I just thought maybe some sort of treatment -- if

11   advised -- and it's not a drug issue even.        I think maybe,

12   as Your Honor and I have discussed many times in other

13   cases, sometimes when someone comes into the criminal

14   justice system, some of the resources of the Court can help

15   them with, perhaps, ancillary issues.       So I just wonder if

16   some not necessarily drug testing, but, perhaps, of some

17   alcohol or drug treatment might be --

18              THE COURT:    So here's the thing, Mr. Lawlor.

19   I'm not -- you know, I'm no expert in this area, but it

20   seems to me that you really ought not to be doing certainly

21   the treatment without the testing.

22              And if he's going to be released on -- be on

23   release before me, if there's a concern at all about drug

24   use --

25              MR. LAWLOR:    It's not drug use.
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1               Actually, Your Honor, could you hold off on this.

2    Could I talk to Ms. Schuck and Ms. Riley and then make a

3    request in writing?

4               PRETRIAL SERVICES OFFICER:      Well, conditions need

5    to be set today, Your Honor.

6               THE COURT:    Right.

7               PRETRIAL SERVICES OFFICER:      I mean, we can set the

8    mental health and we can request the courtesy supervision

9    and that way they can coordinate the mental health and the

10   drug treatment.

11              THE COURT:    So, Ms. Schuck, I'm going to ask that

12   you make the request to do courtesy supervision.

13              You know, I think it makes the most sense to have

14   Mr. Riley actually supervised in California by someone who's

15   closer to him and is better prepared to address his needs

16   and refer him to whatever court resources are available out

17   there.

18              So I am going to add, as a special condition, drug

19   testing and treatment as recommended by court supervision --

20   by U.S. Probation, and also mental health treatment as

21   recommended and as needed by U.S. Probation.

22              I will also include a stay-away from the

23   District of Columbia except for court -- for attending court

24   hearings, although we won't be having any in-person hearings

25   any time soon.    And -- but, nevertheless, he has to stay
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                                                                        41

1    away from the District of Columbia except for court hearings

2    and any other pre-authorized trips here.

3               He shall report once a week by telephone with

4    Pretrial Services in the jurisdiction where he's located.

5    And I think that's all everybody has asked for.

6               Obviously, you know, the other special

7    conditions -- Mr. Riley, if you have any weapons, legal or

8    otherwise, those need to be turned in.        You cannot possess

9    any kind of firearm, whether it's licensed to you or not,

10   while you are on Pretrial Release.       Is that understood, sir?

11              THE DEFENDANT:    I don't own any, sir.

12              THE COURT:    Okay.

13              And also, I know you've represented you don't

14   passport, but if you do, that needs turned in as well.

15              THE DEFENDANT:    Yes, Your Honor.

16              THE COURT:    Okay.

17              PRETRIAL SERVICES OFFICER:      Your Honor, Pretrial

18   would request that instead of being by phone weekly, that he

19   report to the Eastern District of California as directed by

20   them.   That gives them the authority to have him report as

21   they see fit.

22              THE COURT:    Okay.   Fine.

23              PRETRIAL SERVICES OFFICER:      So either by phone or

24   in person.

25              THE COURT:    That's fine.
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                                                                       42

1               I'll leave it to you, Ms. Schuck, to craft the

2    language that gives them the flexibility they think they

3    need, in particular, given the challenges with the pandemic.

4               You know, no travel outside the Eastern District

5    of California without consent of court.

6               Mr. Riley, is that something -- do you know,

7    Counsel, whether Mr. Riley will have regular need or desire

8    to travel outside the Eastern District of California?

9               MR. LAWLOR:    Can you say that again?

10              THE COURT:    I was just asking whether -- I'm going

11   to put it in as a condition.      If it becomes something we

12   need to deal with it, we'll deal it with.

13              But right now, stay away from D.C., no travel

14   outside the Eastern District of California absent consent of

15   the Probation Office.     No international travel without

16   consent of the Probation Office and consent of the Court.

17              And then all the other standard conditions,

18   Ms. Schuck, which we'll advise Mr. Riley of once the

19   Pretrial Order is finalized, correct?

20              PRETRIAL SERVICES OFFICER:      We would also ask that

21   he report any contact with law enforcement to his

22   supervision officer as soon as possible, and that includes

23   any traffic stops, questioning, et cetera.

24              THE COURT:    Okay.

25              So, Mr. Riley, if you have any contact with law
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1    enforcement, you should report that immediately to your

2    supervising officer, okay?

3               THE DEFENDANT:    (Thumbs up.)

4               THE COURT:    All right.

5               Anything else, Ms. Schuck, that we ought to add to

6    the conditions of release?

7               PRETRIAL SERVICES OFFICER:      No, Your Honor.

8               Your Honor included the no-firearms condition, if

9    I heard you correctly?

10              THE COURT:    Yes.    No firearms, legal or otherwise.

11              PRETRIAL SERVICES OFFICER:      Thank you, Your Honor.

12              THE COURT:    Okay.

13              All right.    So, Mr. Riley, you know, you will be

14   released in short order, but I will just remind you that you

15   have conditions of release, and if you fail to abide by

16   those conditions of release, you know, you could be right

17   back in front of me, and the question is going to be whether

18   I'm going to hold you until trial.       Is that understood, sir?

19              THE DEFENDANT:    (Thumbs up.)

20              THE COURT:    All right.

21              So it's important to be on your best behavior

22   while this case is pending, and I know your lawyers will

23   advise you of that repeatedly.

24              All right.    So let's talk about next steps in the

25   case.
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1               Mr. Edwards, Mr. Lawlor, have you all talked about

2    a next date and next steps in terms of production of

3    discovery and the like?

4               MR. LAWLOR:    We have not, Your Honor, so I'm going

5    defer to Mr. Edwards here a little bit.

6               They've given us some discovery, so they might be

7    in a better position to know when they're going to be able

8    to finalize that, and we could do a status sort of in

9    conjunction with that date.

10              MR. EDWARDS:    Yes, Your Honor.

11              The government would ask that potentially,

12   especially given Mr. Riley's release now, that the Court --

13   if the Court is amenable, we could ask for a day in 45 or

14   60 days.   In that time, the government can continue to work

15   on getting discovery produced to defense counsel.         And

16   it would just be the government's request that the Court

17   find that the interests of justice outweigh the interests of

18   the public and the defendant for speedy trial --

19              THE COURT:    Okay.

20              MR. EDWARDS:    -- to toll that date.

21              THE COURT:    So today is February 24th.

22              How about let's look at mid February or actually

23   mid -- I don't know why I said February.        Mid April.    How

24   about the third week in April?      Since Mr. Riley is on the

25   West Coast, how about 1:00 p.m. on April 21st?
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1               MR. EDWARDS:    That works for the government,

2    Your Honor.

3               MR. LAWLOR:    Likewise, Your Honor.

4               THE COURT:    Okay.

5               And, Mr. Lawlor, does your client, I don't know

6    whether you've talked to him about this, but is he aware of

7    his right to a speedy trial and is he agreeable to excluding

8    time under the Speedy Trial Act?

9               MR. LAWLOR:    He is, Your Honor, if I could just

10   advise him.

11              Mr. Riley, you have a right to go to trial with,

12   certain exceptions, to prepare to go to trial within either

13   70 or 90 days.

14              We don't have all the discovery yet.        I think it's

15   advisable so that you, Mr. Brennan, and I can talk and

16   prepare the case and review the discovery, that we agree to

17   toll the speedy trial clock in this case.

18              Is that acceptable to you?

19              Mr. Riley, did you hear me?

20              THE DEFENDANT:    I said "yes, sir."

21              MR. LAWLOR:    Oh, okay.    I'm sorry.

22              Yes, Your Honor.

23              And, Your Honor, actually on that point,

24   Mr. Brennan and I are CJA-appointed here.        I think we're

25   going to need frequent travel to the Lake Tahoe region to
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1    meet with Mr. Riley and prepare a vigorous defense.

2               THE COURT:    Let me tell you right now, I won't

3    approve that unless we have --

4               MR. LAWLOR:    Your Honor, are you going to honor

5    this request?

6               THE COURT:    Unless we're all going to convene

7    there --

8               MR. LAWLOR:    I'm in.

9               THE COURT:    -- I may have to consider a

10   change-of-venue motion.

11              Look, Mr. Riley, let me just make sure you

12   understand what you and your lawyer have just discussed.

13              There is something called the Speedy Trial Act.

14   That piece of legislation ensures that you have a right to a

15   trial within 70 days of your first appearing in court.

16              Do you understand that, sir?

17              THE DEFENDANT:    Yes, sir.

18              THE COURT:    And in terms of how we go about

19   calculating that time, what your lawyer and I have just

20   discussed is that we would exclude the time between tomorrow

21   and the next time you're in court, which is April 21st.

22              Do you understand that, Mr. Riley?

23              THE DEFENDANT:    Yes, Your Honor.

24              THE COURT:    Okay.

25              And are you prepared to exclude the time between
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1    now and your next court date on April 21st in calculating

2    your speedy trial time, sir?

3               THE DEFENDANT:    I am, Your Honor.

4               THE COURT:    Okay.

5               So I do find that it is in the interests of

6    justice, and that those interests of justice outweigh the

7    interests of the defendant and the public in a speedy trial;

8    and, therefore, I'll order the time be excluded under the

9    Speedy Trial Act from tomorrow up through April the 21st.

10              I find that exclusion is warranted because the

11   government has -- to afford the government time to produce

12   discovery and for the defense to review that discovery and

13   consult with their client and prepare a defense.

14              In addition, the current standing order excludes

15   time through March the 15th under the Speedy Trial Act, and

16   for the reasons stated in that standing order, I'll exclude

17   time at least up through March 15th as well.

18              So with that, I think the only final housekeeping

19   matter is, I think this is a first appearance in front of

20   me, so I want to put on the record, Mr. Edwards, I want to

21   remind you of the government's obligations under Brady

22   versus Maryland to disclose any favorable information to the

23   defense and that you're aware of that obligation and will

24   carry it out and that you're aware of the potential

25   consequences of failing to satisfy that obligation?
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1               MR. EDWARDS:    Yes, Your Honor.     Thank you.

2               THE COURT:    All right.    Thank you, Mr. Edwards.

3               All right.    With that, folks, is there anything

4    else we need to take up this afternoon?

5               MR. EDWARDS:    Not for the government.

6               MR. LAWLOR:    No, Your Honor.     Thank you for your

7    time today.

8               THE COURT:    All right.    Thank you, everyone.

9               (Proceedings concluded at 3:08 p.m.)

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                      C E R T I F I C A T E
                I, William P. Zaremba, RMR, CRR, certify that
the foregoing is a correct transcript from the record of
proceedings in the above-titled matter.
                Please note: This hearing occurred during
the COVID-19 pandemic and is therefore subject to the
technological limitations of court reporting remotely.




Date:__March 18, 2021______       /S/__William P. Zaremba______
                                  William P. Zaremba, RMR, CRR
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